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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  UNILOC USA, INC. ET AL,                          §
                                                   §
        Plaintiffs,                                §
                                                              Case No. 2:17-cv-00746-JRG-RSP
                                                   §
  v.                                               §
                                                   §
  HUAWEI DEVICE USA, INC. ET AL,                   §
                                                   §
        Defendants.                                §

                                               ORDER

        Before the Court is the Parties’ Stipulation of Dismissal. (Dkt. No. 52.) This Stipulation

 states that the parties have agreed to settle this case and that the parties have stipulated under Rule

 41(a)(1)(A)(ii) to dismiss with prejudice all claims and counterclaims between the parties. The

 stipulation also states that Plaintiffs and Defendants shall each bear their own attorney fees,

 expenses, and costs and states that all other relief requested between the parties should be denied-

 as-moot.

        After consideration, the Court APPROVES the Parties’ Stipulation of Dismissal (Dkt. No.

 52). It is therefore ORDERED that (1) all claims and counterclaims between the parties are

 DISMISSED WITH PREJUDICE; (2) each party shall bear its own attorneys’ fees, expenses,

 and costs; and (3) all other relief requested between the parties is hereby DENIED-AS-MOOT.

 The Clerk is directed to close this case as no active defendants remain.

        So Ordered this
        Jul 8, 2019
